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   Collegiate Athletic Association
 9
                      UNITED STATES DISTRICT COURT
10
                     EASTERN DISTRICT OF CALIFORNIA
11

12 TAYLOR SMART and MICHAEL                Case No. 2:22-cv-02125-WBS-CSK
   HACKER, individually and on
13 behalf of all those similarly           DECLARATION OF MEGAN McCREADIE
   situated,                               IN SUPPORT OF DEFENDANT NCAA’S
14                                         OPPOSITION TO PLAINTIFFS’
             Plaintiffs,                   MOTIONS FOR CLASS CERTIFICATION
15
        v.                                 Judge:     Hon. William B. Shubb
16                                         Courtroom: 5
   NATIONAL COLLEGIATE ATHLETIC            Date:      March 3, 2025
17 ASSOCIATION                             Time:      1:30 p.m.
18            Defendant.
19 SHANNON RAY, KHALA TAYLOR,              Case No. 1:23-cv-00425-WBS-CSK
   PETER ROBINSON, KATHERINE
20 SEBBANE, and RUDY BARAJAS,
   individually and on behalf of
21 all those similarly situated,

22            Plaintiffs,

23       v.

24 NATIONAL COLLEGIATE ATHLETIC
   ASSOCIATION, an unincorporated
25 association,

26            Defendants.

27

28
                                        -1-
     DECLARATION OF MEGAN McCREADIE IN SUPPORT OF DEFENDANT NCAA’S OPPOSITION TO
                     PLAINTIFFS’ MOTIONS FOR CLASS CERTIFICATION
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 1       I, Megan McCreadie, declare as follows:

 2       1.   I am a member of good standing of the State Bar of

 3 California, and I have been admitted to this Court. I am an

 4 attorney at Munger, Tolles & Olson and counsel of record for the

 5 Defendant National Collegiate Athletic Association (“NCAA”).                I am

 6 personally familiar with the facts set forth in this Declaration.

 7 If called upon to testify, I could and would testify completely to

 8 the truth of the matters stated herein.

 9       2.   The exhibits cited in support of Defendant NCAA’s

10 Opposition to Plaintiffs’ Motion for Class Certification are set

11 forth in the table below.       Exhibit 1 is a true and correct copy of

12 the report of the NCAA’s expert, Dr. Jee-Yeon Lehmann.

13 Exhibits 2–6, 8-13, and 15 are true and correct copies of excerpts

14 from the transcripts of depositions in these cases.             Exhibit 7 is

15 a true and correct copy of an exhibit used in a deposition in

16 these cases.     Exhibits 14 and 16-18 are true and correct copies of

17 Plaintiffs’ responses to interrogatories served by the NCAA.

18 Exhibit 19 is a true and correct copy of a document produced by

19 Colon Plaintiffs to the NCAA.        Exhibits 20 and 21 are true and

20 correct copies of documents produced by the NCAA in these cases.

21 Exhibit 22 is a true and correct copy of excerpts from an exhibit

22 used in a deposition in these cases. Exhibits 23 through 25 are

23 true and correct copies of documents produced by Plaintiffs from

24 the third-party productions of NCAA member institutions subpoenaed

25 by Plaintiffs.      All of these exhibits are attached hereto as

26 Exhibits 1 through 25.

27       3.   Pursuant to the parties’ Stipulated Protective

28 Orders(Smart ECF 48 and Colon ECF 56), and further set forth in
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     DECLARATION OF MEGAN McCREADIE IN SUPPORT OF DEFENDANT NCAA’S OPPOSITION TO
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 1 Defendant’s Notice of Request and Request to Seal Documents, any

 2 exhibits that have been designated as Confidential or Attorneys’

 3 Eyes Only are subject to a request to be filed under seal (in

 4 whole or in part) and are denoted as such in the following table.

 5   Exhibit                  DESCRIPTION                        SUBJECT TO
 6   No.                                                         REQUEST TO SEAL?
 7   1         Expert Report of Dr. Jee-Yeon Lehmann             Yes, redacted
 8                                                               public version
 9                                                               filed
10   2         Excerpts from the Transcript of the               Yes
11             December 9,2024 Deposition of
12             Dr. Daniel Rascher
13   3         Excerpts from the Transcript of the               No
14             December 16, 2024 Deposition of
15             Jeremiah Carter
16   4         Excerpts from the Transcript of the               No
17             October 10, 2024 Deposition of Lynda
18             Tealer
19   5         Excerpts from the Transcript of the               No
20             August 27, 2024 Deposition of Matt
21             Boyer
22   6         Excerpts from the Transcript of the               Yes
23             December 5, 2024 Deposition of
24             Dr. Orley Ashenfelter
25   7         Exhibit 74 to the December 5, 2024                Yes
26             Deposition of Dr. Orley Ashenfelter
27             (Subpoena response containing
28
                                        -3-
     DECLARATION OF MEGAN McCREADIE IN SUPPORT OF DEFENDANT NCAA’S OPPOSITION TO
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 1             personnel files produced by Colon
 2             Plaintiffs from the third-party
 3             production of South Dakota State
 4             University, with beginning Bates
 5             number COLON_SCHLS_0000016398)
 6   8         Excerpts from the Transcript of the               No
 7             September 24, 2024 Deposition of
 8             Taylor Smart
 9   9         Excerpts from the Transcript of the               Yes, redacted
10             October 17, 2024 Deposition of Peter              public version
11             Robinson                                          filed
12   10        Excerpts from the Transcript of the               No
13             October 25, 2024 Deposition of Rudy
14             Barajas
15   11        Excerpts from the Transcript of the               No
16             October 23, 2024 Deposition of Khala
17             Taylor
18   12        Excerpts from the Transcript of the               Yes, redacted
19             October 15, 2024 Deposition of                    public version
20             Shannon Ray                                       filed
21   13        Excerpts from the Transcript of the               No
22             October 8, 2024 Deposition of Michael
23             Hacker
24   14        Colon Plaintiffs’ Amended Responses               No
25             to the NCAA’s Second Set of
26             Interrogatories (dated August 27,
27             2024)
28
                                        -4-
     DECLARATION OF MEGAN McCREADIE IN SUPPORT OF DEFENDANT NCAA’S OPPOSITION TO
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 1   15        Excerpts from the Transcript of the               Yes, redacted
 2             October 28, 2024 Deposition of                    public version
 3             Katherine Sebbane                                 filed
 4   16        Smart Plaintiffs’ Amended Objections              Yes, redacted
 5             and Answers to the NCAA’s Second Set              public version
 6             of Interrogatories (dated                         filed
 7             September 17, 2024)
 8   17        Plaintiff Barajas’s Responses to the              No
 9             NCAA’s Second Set of Interrogatories
10             (dated October 1, 2024)
11   18        Colon Plaintiffs’ Second Amended                  No
12             Responses and Objections to the
13             NCAA’s Second Set of Interrogatories
14             (dated October 18, 2024)
15   19        COLON_CONFERENCE_0000208854 (Email            Yes
16             chain produced by Colon Plaintiffs
17             from the third-party production of
18             the Missouri Valley Conference)
19   20        NCAA_SMART-COLON_0019545 (NCAA                    No
20             Division I Proposal 2022-28, produced
21             by the NCAA)
22   21        NCAA_SMART-COLON_0019530 (NCAA                    No
23             Division I Proposal 2018-34, produced
24             by the NCAA)
25   22        Excerpts from Exhibit 72 to the                   No
26             December 5, 2024 Deposition of
27             Dr. Orley Ashenfelter (redacted
28
                                        -5-
     DECLARATION OF MEGAN McCREADIE IN SUPPORT OF DEFENDANT NCAA’S OPPOSITION TO
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 1             public version of the Report of Orley
 2             Ashenfelter in In re Animation
 3             Workers Antitrust Litigation)
 4   23        COLON_SCHLS_0000013529 (Subpoena                  Yes
 5             response with data on coaches
 6             produced by Colon Plaintiffs from the
 7             third-party production of the
 8             University of Wyoming)
 9   24        COLON_SCHLS_0000001726 (Subpoena                  Yes
10             response with data on coaches
11             produced by Colon Plaintiffs from the
12             third-party production of the
13             University of Nevada, Las Vegas)
14   25        COLON_SCHLS_0000001818 (Subpoena                  Yes
15             response with data on coaches
16             produced by Colon Plaintiffs from the
17             third-party production of Louisiana
18             State University)
19

20        4.   Plaintiffs subpoenaed and received documents from NCAA
21 Division I member institutions.        I understand that Plaintiffs have
22 done a rolling production of       what they received in response to
23 these subpoenas to the NCAA.       The documents received included
24 information related to the member institutions’ coaching staffs

25 (including the identities of volunteer coaches) and the

26 compensation offered to coaching staff members.               I have reviewed
27 these documents in my role as counsel to the NCAA.                  Because the
28 documents themselves are voluminous and unwieldy to submit as
                                   -6-
     DECLARATION OF MEGAN McCREADIE IN SUPPORT OF DEFENDANT NCAA’S OPPOSITION TO
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 1 exhibits, and because the institutions that produced the documents

 2 designated certain of the information contained therein as highly

 3 sensitive, I have summarized below as true and correct information

 4 from these documents that the NCAA relies upon in its Opposition

 5 to Plaintiffs’ Motions for Class:

 6       5.   I reviewed the document Bates numbered

 7 COLON_SCHLS_0000013529 produced to the NCAA by Plaintiffs from the

 8 third-party production they received from the University of

 9 Wyoming (Exhibit 23 hereto).       Based on my review of the document,

10 in 2023-2024 academic year, following the bylaw change, the

11 University of Wyoming added a paid assistant coach position in

12 women’s volleyball.      The individual hired into the new paid

13 coaching position was someone other than the 2022-2023 volunteer

14 coach.

15       6.   I reviewed the document Bates numbered

16 COLON_SCHLS_0000001726 produced to the NCAA by Plaintiffs from the

17 third-party production they received from the University of

18 Nevada, Las Vegas (“UNLV”) (Exhibit 24 hereto).               According to my

19 review of the document, UNLV had two paid assistant women’s

20 volleyball coaches and one volunteer women’s volleyball coach in

21 the 2022-2023 season.      In the 2023-2024 season, following the

22 bylaw change, UNLV continued to have two paid assistant women’s

23 volleyball coaches and one unpaid women’s volleyball coach.

24       7.   I reviewed the document Bates numbered

25 COLON_SCHLS_0000001818 produced to the NCAA by Plaintiffs from the

26 third-party production they received from Louisiana State

27 University (Exhibit 25 hereto).        Based on my review, in the 2023-

28 2024 season, Louisiana State University had three paid assistant
                                        -7-
     DECLARATION OF MEGAN McCREADIE IN SUPPORT OF DEFENDANT NCAA’S OPPOSITION TO
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 1   gymnastics coaches.      The highest-paid assistant gymnastics coach

 2 made a salary of               , while the lowest-paid assistant

 3 gymnastics coach made a salary of                  in that year.

 4        8.    Pursuant to Eastern District of California Local

 5   Rule 133(j), the NCAA will lodge with the Court copies of the

 6   complete transcripts of the depositions of Dr. Ashenfelter,

 7   Dr. Rascher, Mr. Carter, Ms. Tealer, Mr. Smart, Mr. Hacker, Ms.

 8   Ray, Mr. Robinson, Ms. Taylor, Ms. Sebbane, Mr. Barajas, and Mr.

 9   Boyer.

10

11        I declare under penalty of perjury under the laws of the

12   United States of America that the foregoing is true and correct.

13

14   Executed on December 20, 2024, in San Francisco, California.

15

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18
                                     By,   I/{9Jrr ((Lad)_)
                                              Megan Mccreadie

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                                          -8-
      DECLARATION OF MEGAN MCCREADIE IN SUPPORT OF DEFENDANT NCAA'S OPPOSITION TO
                      PLAINTIFFS' MOTIONS FOR CLASS CERTIFICATION
